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          14                                   UNITED STATES DISTRICT COURT
                                              CENTRAL DISTRICT OF CALIFORNIA
          15
                 TRAVELERS CASUALTY                                  CASE NO. 2:20-cv-03619-PSG-E
          16     INSURANCE COMPANY OF
                 AMERICA,                                            PLAINTIFF TRAVELERS
          17                                                         CASUALTY INSURANCE COMPANY
                                          Plaintiff,                 OF AMERICA’S MEMORANDUM OF
          18                                                         POINTS AND AUTHORITIES IN
                         v.                                          OPPOSITION TO DEFENDANT’S
          19                                                         MOTION TO DISMISS COMPLAINT,
                 GERAGOS & GERAGOS, A                                OR IN THE ALTERNATIVE, TO
          20     PROFESSIONAL CORPORATION,                           STAY PROCEEDINGS
          21                              Defendant.
          22                                                         Hearing:

          23                                                         Date:      August 3, 2020
          24                                                         Time:      1:30 p.m.
                                                                     Place:     Courtroom 6A
          25                                                                    First Street Courthouse
                                                                                350 W. First Street
          26                                                                    Los Angeles, CA 90012
                                                                     Judge:     Philip S. Gutierrez
          27
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            1            Plaintiff Travelers Casualty Insurance Company of America (“Travelers”)
            2    hereby submits this Opposition to Defendant’s Motion to Dismiss the Complaint, or in
            3    the Alternative, to Stay Proceedings.
            4    I.      INTRODUCTION
            5            This insurance coverage action is properly in federal court pursuant to this
            6    Court’s diversity jurisdiction, which Defendant Geragos & Geragos, APC
            7    (“Defendant” or “G&G”) does not dispute. Instead, G&G asks this Court to
            8    voluntarily decline jurisdiction under various abstention doctrines—Brillhart,
            9    Colorado River, and Younger. Plaintiff’s motion is premised on the fiction that there
          10     are “identical” and “parallel” actions pending in state court. No such actions exist.
          11             First, though G&G accuses Travelers of forum shopping by filing this lawsuit
          12     after G&G filed its own declaratory judgment action, G&G presents no arguments
          13     seeking to dismiss or stay in favor of G&G’s lawsuit. Brillhart, Colorado River, and
          14     Younger all require parallel state court actions. G&G’s lawsuit against The Travelers
          15     Indemnity Company of Connecticut is neither in state court nor identical to this
          16     lawsuit. G&G sued the wrong Travelers entity, fraudulently joined Mayor Eric
          17     Garcetti as a co-defendant, improperly framed the coverage issues in its declaratory-
          18     relief claim, and sued on only one of its insurance policies when G&G has claimed
          19     losses under two different Travelers policies. Accordingly, Travelers filed this lawsuit,
          20     which is on behalf of the correct Travelers entity, does not attempt to embroil the
          21     Mayor (who has no role in this dispute), and seeks coverage declarations regarding
          22     both of G&G’s policies. This lawsuit is the best vehicle to efficiently resolve all of the
          23     issues between the parties, and it is properly in federal court.
          24             Second, there are no “parallel” state court actions involving the same parties and
          25     issues as this lawsuit. G&G points to three state-court cases that Travelers is litigating
          26     with different insureds operating different businesses insured under different contracts.
          27     The only connection between those cases and this case is that G&G is counsel for
          28     those other businesses. But there is no authority for treating state and federal court

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            1    cases as “parallel”—let alone abstaining from hearing a federal court case—just
            2    because the same law firm is involved in multiple cases.
            3             Further, this lawsuit presents a straightforward issue of contract application.
            4    G&G claims business income losses due to the Coronavirus, but both of its policies
            5    contain exclusions for any “loss or damage resulting from any virus.” No one can
            6    possibly dispute that the Coronavirus is a virus. For this reason (and others), the
            7    policies’ plain language bars G&G’s alleged losses. Applying this plain-language
            8    contract interpretation does not involve any novel or complex issues of state law, and
            9    abstention would be improper.
          10              The Court should deny G&G’s Motion and retain jurisdiction over this action.
          11     II.      FACTUAL BACKGROUND
          12              On April 10, 2020, G&G filed a declaratory judgment action in Los Angeles
          13     Superior Court regarding a claim for losses at its Los Angeles office only against The
          14     Travelers Indemnity Company of Connecticut and Los Angeles Mayor Eric Garcetti.
          15     G&G’s lawsuit was plagued from the get-go: (i) G&G sued the wrong company, as
          16     Travelers Casualty Insurance Company of America issued the policy identified in
          17     G&G’s complaint;1 (ii) G&G fraudulently joined Mayor Garcetti as a defendant, who
          18     is not a party to the insurance contract at issue and does not have any rights or
          19     obligations under that contract; (iii) the complaint addressed only G&G’s claimed
          20     losses at its Los Angeles office, even though G&G made a separate claim, under a
          21     separate Travelers policy, for alleged losses at G&G’s New York office; and (iv) the
          22     complaint failed to acknowledge the policy’s virus exclusion.
          23              Accordingly, on April 20, 2020, Travelers Casualty Insurance Company of
          24     America—the entity that issued the insurance policies for both G&G locations—filed
          25     this lawsuit in federal court and correctly framed all of the issues between the correct
          26
                  1
                       The policy at issue in G&G’s complaint is attached as Exhibit A to Travelers’
          27           Complaint in this action. Compare Compl., Ex. A, ECF No. 1-1 (policy), with
          28           Geragos & Geragos, APC v. Travelers Indem. Co. of Conn., No. 2:20-cv-04414-
                       PSG-E, ECF No. 1-2 (C.D. Cal. May 15, 2020) (G&G’s complaint).
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            1    parties in the proper forum. This action seeks declaratory relief under two insurance
            2    policies that Travelers issued to G&G regarding G&G’s claimed losses of business
            3    income at its Los Angeles and New York offices related to the Coronavirus. See
            4    generally Compl., ECF No. 1.
            5            Travelers also properly removed G&G’s original lawsuit on May 15, 2020, on
            6    the basis of diversity subject-matter jurisdiction. The action was subsequently
            7    transferred to this Court. See Geragos & Geragos, APC v. Travelers Indem. Co. of
            8    Conn., No. 2:20-cv-04414-PSG-E, ECF No. 1 (C.D. Cal. May 15, 2020); id., ECF No.
            9    12 (May 21, 2020).
          10     III.    ARGUMENT
          11             Travelers properly filed this action in federal court based on the Court’s
          12     diversity jurisdiction—and G&G does not contend otherwise. The Court should not
          13     abstain from hearing this action. The purpose of diversity jurisdiction is to give an
          14     out-of-state party like Travelers the option of a federal forum—particularly where, as
          15     here, the other party is a home-state litigant. Exxon Mobil Corp. v. Allapattah Servs.,
          16     Inc., 545 U.S. 546, 553–54 (2005) (“[T]he purpose of the diversity requirement . . . is
          17     to provide a federal forum for important disputes where state courts might favor, or be
          18     perceived as favoring, home-state litigants.”). In fact “the desire for a federal forum is
          19     assured by the constitutional provision for diversity jurisdiction and the congressional
          20     statute implementing Article III.” First State Ins. Co. v. Callan Assocs., Inc., 113 F.3d
          21     161, 162 (9th Cir. 1997).
          22             None of the abstention doctrines that G&G relies on—Brillhart, Colorado River,
          23     and Younger—warrants abstention here, and the Court should deny G&G’s Motion
          24     and continue to exercise its jurisdiction over this action.
          25             A.       Dismissal Under Brillhart Is Improper
          26             The Declaratory Judgment Act (“DJA”) does not permit courts to “decline”
          27     jurisdiction over lawsuits, like this one, that are properly filed in federal court.
          28     Countrywide Home Loans, Inc., v. Mortg. Guar. Ins. Corp., 642 F.3d 849, 853 (9th

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            1    Cir. 2011). That said, courts have discretion whether or not to award a declaratory
            2    “remedy.” Id. (emphasis added).
            3            In the Ninth Circuit, a district court’s decision to hear a declaratory claim is
            4    governed by the “Brillhart factors.” Gov’t Emps. Ins. Co. v. Dizol, 133 F.3d 1220,
            5    1225 (9th Cir. 1998) (en banc) (citing Brillhart v. Excess Insurance Company of
            6    America. 316 U.S. 491, 494 (1942)). The three primary Brillhart factors are
            7    (1) whether the declaratory action will involve “needless determination of state law
            8    issues,” (2) whether the declaratory action will promote “forum shopping,” and
            9    (3) whether the declaratory action will create “duplicative litigation.” Id. These
          10     factors are “not exhaustive,” however, and a court may also consider:
          11             whether the declaratory action will settle all aspects of the controversy;
          12             whether the declaratory action will serve a useful purpose in clarifying the
          13             legal relations at issue; whether the declaratory action is being sought merely
          14             for the purposes of procedural fencing or to obtain a ‘res judicata’
          15             advantage; or whether the use of a declaratory action will result in
          16             entanglement between the federal and state court systems. In addition, the
          17             district court might also consider the convenience of the parties, and the
          18             availability and relative convenience of other remedies.
          19     Id. at 1225 n.5.
          20             “There is no presumption in favor of abstention in declaratory actions generally,
          21     nor in insurance coverage cases specifically.” Id. at 1225.
          22             Each Brillhart factor militates in favor of hearing Travelers’ declaratory action.
          23                      1.      This Action Does Not Involve Any “Needless Determinations of
          24                              State Law Issues”
          25             There are no “needless” determinations of state law in this action. As G&G
          26     concedes, legal issues are “needless” when an “ongoing parallel state proceeding” will
          27     resolve the “precise state law issue” presented in federal court action. Mot. at 4.
          28     Further, the state law issue must be “unsettled.” Id. Neither condition is satisfied here.

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            1            First, there are no parallel state proceedings that will resolve the same issues
            2    presented in this case. G&G points to three state-court cases—837 Foothill Blvd. LLC
            3    v. Travelers Indemnity Company of Connecticut, 2420 Honolulu Ave. LLC v. Travelers
            4    Indemnity Company of Connecticut, and Mark J. Geragos v. Travelers Indemnity
            5    Company of Connecticut—filed by various plaintiffs in Los Angeles Superior Court.
            6    Mot. at 5. G&G happens to be the law firm representing these plaintiffs, but G&G
            7    itself is not a party to any of the actions, nor is it a party to the different insurance
            8    policies at issue therein. Rather, these state court actions involve different insureds
            9    that are engaged in different businesses and subject to different insurance policies:
          10              837 Foothill Blvd. LLC claims to own and manage “a small commercial
          11                 business center” with “printing and beauty services” in La Canada Flintridge;
          12              2420 Honolulu Ave. LLC claims to own, operate and/or manage a
          13                 “restaurant/ deli” in Montrose; and
          14              Mark J. Geragos claims to be an individual who owns “commercial
          15                 business retail space” with a “bookstore and a law office” in Glendale.2
          16             Other than the superficial fact that all of these cases seek declaratory relief
          17     regarding business income coverage relating to COVID-19 (like many other lawsuits
          18     that have been filed in the past few months against insurers across the country), there is
          19     no meaningful overlap between this action and those that G&G identifies.
          20             Indeed, this Court has already found that the present action is not related to cases
          21     brought by other insureds represented by G&G against other Travelers affiliates,
          22     because, as the Court stated, those “cases involve different parties and different
          23     insurance policies.” Order, 10E LLC v. Travelers Indem. Co. of Conn., No. 2:20-cv-
          24     4418, ECF No. 11 at 2 (C.D. Cal. May 21, 2020) (emphasis added); Order, Mark’s
          25     Engine Co. No. 28 Restaurant, LLC v. Travelers Indem. Co. of Conn., No. 2:20-cv-
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          27      2
                      Although Mark Geragos is counsel of record for and the Chief Executive Officer of
          28          G&G, that does not mean the law firm G&G is a party to Mr. Geragos’s individual
                      lawsuit about a different business.
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            1    4423, ECF No. 11 at 2 (C.D. Cal. May 21, 2020) (same); Order, Geragos & Geragos
            2    Fine Arts Bldg., LLC v. Travelers Indem. Co. of Conn., No. 2:20-cv-4427, ECF No. 12
            3    at 2 (C.D. Cal. May 21, 2020) (same). Tellingly, G&G also has not filed a “Notice of
            4    Pendency of Other Actions or Proceedings” in this action (or any other), which it was
            5    obligated to file if it really believed that the parties here were involved in parallel state
            6    court actions. See C.D. Cal. L.R. 83-1.4.
            7            Given the variety in each insured’s business, their claimed business-income
            8    losses and factual allegations are also different: 2420 Honolulu concerns a California
            9    restaurant and 837 Foothill and Geragos concern California commercial real estate,
          10     while this action concerns a law firm and its offices in both California and New York.
          11             Because “there are no parallel state court proceedings,” this case “lie[s] at the
          12     ‘outer boundaries’ of the district court’s discretion under the [DJA],” providing “little
          13     reason for the district court to consider dismissing this case.” Maryland Cas. Co. v.
          14     Knight, 96 F.3d 1284, 1289 (9th Cir. 1996) (quoting Wilton v. Seven Falls Co., 515 U.S.
          15     277, 289 (1995)); see also, e.g., Am. Cas. Co. of Reading, Pennsylvania v. Krieger, 181
          16     F.3d 1113, 1118–19 (9th Cir. 1999) (finding district court “did not abuse its discretion
          17     in deciding that this first Brillhart factor weighed in favor of retention of jurisdiction”
          18     when there was no “parallel state proceeding”).3
          19             Second, this action does not involve “novel” issues of state law. Mot. at 4–5. In
          20
          21      3
                      G&G contends that a state action is “parallel” to a federal action when “(1) the
          22          actions arise from the same factual circumstances; (2) there are overlapping factual
                      questions in the actions; or (3) the same issues are addressed by both actions,”
          23          quoting Gemini Insurance Company v. Clever Construction, Inc., Civ. No. 09-
          24          00290 DAE-BMK, 2009 WL 3378593, *7 (D. Haw. Oct. 21, 2009), an unpublished
                      decision from the District Court of Hawaii. But this case involves straightforward
          25          questions of contract interpretation, not factual questions. And each case involves a
                      different plaintiff and insurance policy. Indeed, Gemini found there was no
          26          “parallel proceeding” where a pending arbitration did not “in any direct way
                      involve litigation on any of the insurance carriers’ duties to . . . their insureds” and
          27          “no issues of insurance coverage [were] directly at issue in the [arbitration],” even
          28          though there “may [have been] some overlapping factual issues” affecting the
                      court’s interpretation of various policy provisions. Id. at *7 & n.6, 10.
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            1    Allstate Insurance Co. v. Herron, the Ninth Circuit held that district courts may
            2    properly retain jurisdiction over “straightforward [insurance] contract dispute[s]” that
            3    present “no issues of [state] law outside of that defining [the parties’] contractual
            4    relationship.” 634 F.3d 1101, 1108 (9th Cir. 2011). District courts in this circuit have
            5    thus retained jurisdiction under Brillhart in declaratory actions involving the
            6    interpretation of insurance policies. See, e.g., Carolina Cas. Ins. Co. v. Bolling, Walter
            7    & Gawthrop, No. CIV.S-04-2445FCDPAN, 2005 WL 1367096, at *5 (E.D. Cal. May
            8    31, 2005) (“[T]he instant dispute does not require this court to decide novel questions of
            9    state law. To the contrary, the parties’ dispute requires interpretation of [an insurance]
          10     [p]olicy.”), aff’d, 244 F. App’x 762 (9th Cir. 2007); Whittaker Corp. v. AIG Specialty
          11     Ins. Co., No. 2:18-cv-08453-AB-PLA, 2019 WL 517629, at *8 (C.D. Cal. Feb. 6, 2019)
          12     (“This evaluation should involve a relatively straightforward analysis of the policy,
          13     without infringing on novel state law issues.” (quoting San Diego Unified Port Dist. v.
          14     Nat’l Union Fire Ins. Co. of Pittsburgh, PA, No. 3:15-cv-1401-BEN-MDD, 2016 WL
          15     3766364, at *4 (S.D. Cal. July 6, 2016))); Mitsui Sumitomo Ins. Co. of Am. v. Delicato
          16     Vineyards, No. CIV. S-06-2891 FCD GGH, 2007 WL 1378025, at *6 (E.D. Cal. May
          17     10, 2007) (“While this analysis is governed by state law, the principles of contract
          18     interpretation are well settled, and [a federal] court is an appropriate forum to adjudicate
          19     this matter.”).
          20             Here, this action concerns the straightforward interpretation of G&G’s insurance
          21     policies. As explained in Travelers’ Motion to Dismiss G&G’s First Amended
          22     Complaint in its original action,4 the policies at issue include a provision that plainly
          23     excludes any type of property coverage for any type of loss caused by a virus. The
          24     Court’s interpretation of that policy language, and application to this case, does not
          25     involve any complex issue of state law. G&G suggests that cases regarding COVID-19
          26     business losses are significant or important, presumably because of the volume of
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          28          Geragos & Geragos, APC v. Travelers Indem. Co. of Conn., No. 2:20-cv-04414-
                      PSG-E, ECF No. 24 (C.D. Cal. June 26, 2020).
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            1    litigation and the sheer sum of alleged losses across the country (and the world). Mot.
            2    at 2, 5. But that does not make the issues complex. Seneca Ins. Co., Inc. v. Strange
            3    Land, Inc., 862 F.3d 835, 843–44 (9th Cir. 2017). “[F]ederal courts routinely” resolve
            4    “state insurance law” disputes. Id. at 844 & n.3.
            5             G&G cites no cases to the contrary. For example, Allstate Insurance Co. v.
            6    Davis, 430 F. Supp. 2d 1112, 1120 (D. Haw. 2006) (cited at Mot. at 4), found that the
            7    insurance issues before it did “not implicate novel or unsettled matters of state law.”
            8    “On numerous occasions,” the court explained, “[it] has interpreted insurance policies
            9    pursuant to Hawaii state law to determine the scope of an insurer’s duties to an
          10     insured.” Id. Similarly, the District Court of Alaska in National Chiropractic Mutual
          11     Insurance Co. v. Doe held that “[i]f there were unsettled issues of state law” before it,
          12     “they could easily be certified to the Alaska Supreme Court,” which “has frequently
          13     accepted certification of insurance coverage issues from this Court and the Ninth
          14     Circuit.”5 23 F. Supp. 2d 1109, 1118 (D. Alaska 1998) (emphasis added) (cited at Mot.
          15     at 4).
          16              In Dianoia’s Eatery, LLC v. Motorists Mutual Ins. Co., No. 2:20-cv-00706-NBF,
          17     ECF No. 3 (W.D. Pa. May, 19, 2020) (cited at Mot. at 3–4), the Western District of
          18     Pennsylvania remanded because defendant’s notice of removal was deficient—which is
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                      The only case G&G relies on that did find “unsettled issues of state law” is Keown
          20          v. Tudor Insurance Co., 621 F. Supp. 2d 1025, 1032 (D. Haw. 2008). Mot. at 4.
          21          Keown, however, probed whether an insurer was obligated to defend and indemnify
                      the plaintiff in a state court action, and concerned a specific “liability insurance
          22          exclusion” that is not at issue here, in this first-party property insurance business-
                      interruption coverage action. Id. And while Keown found it appropriate in its
          23          discretion to allow “Hawaii state courts [to] determine the proper scope” of the
          24          exclusion, id., other district courts in Hawaii have found themselves more than
                      capable of applying state law to the insurance issues presented to them. G&G relies
          25          on one such case: Gemini Insurance Co. v. Clever Construction, Inc., Civ. No. 09-
                      00290 DAE-BMK, 2009 WL 3378593 (D. Haw. Oct. 21, 2009)). Mot. at 4.
          26          Gemini explained that “[w]hile there is always a threat of inconsistent interpretation
                      of the law between federal courts and state courts, such danger is faced nearly every
          27          day in federal courts sitting in diversity.” 2009 WL 3378593, at *8. “The fact that
          28          state law issues are implicated is not, in and of itself, sufficient grounds for
                      declining jurisdiction.” Id.
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            1    not an issue here. The court’s alternative ruling under the DJA rested entirely on Third
            2    Circuit and Pennsylvania Supreme Court precedent to which there is no California
            3    equivalent. Id. at 5. Further, Bailey v. Pritzker, No. 3:20-cv-474, ECF No. 15 (S.D. Ill.
            4    May 22, 2020) (cited at Mot. at 4), involves the legality of an Illinois civil authority
            5    order, and the court in that case has not ruled on the pending motion to remand. G&G
            6    cites only a brief by the United States Department of Justice, not any court order.
            7            Brillhart’s first factor thus weighs in favor of retaining jurisdiction.
            8                     2.      Travelers Has Not Engaged in Forum Shopping
            9            Under the second Brillhart factor, G&G contends that Travelers has engaged in
          10     forum shopping by (1) filing this action, (2) removing G&G’s original state-court
          11     action, and (3) not removing the three allegedly “parallel” state-court actions discussed
          12     above. Mot. at 6. All three arguments fail.
          13             First, no forum shopping has occurred in this action because the federal forum is
          14     proper—this is a contract dispute between diverse parties—and Travelers appropriately
          15     sought federal jurisdiction in bringing this action. See First State Ins. Co. v. Callan
          16     Assocs., Inc., 113 F.3d 161, 162 (9th Cir. 1997) (“Although occasionally stigmatized
          17     as ‘forum shopping,’ the desire for a federal forum is assured by the constitutional
          18     provision for diversity jurisdiction and the congressional statute implementing Article
          19     III.”). Indeed, as the Ninth Circuit has stated, there is “no authority for the proposition
          20     that an insurer is barred from invoking diversity jurisdiction to bring a declaratory
          21     judgment action against an insured on an issue of coverage.” Dizol, 133 F.3d at 1225
          22     (quoting Aetna Cas. & Sur. Co. v. Merritt, 974 F.2d 1196, 1199 (9th Cir. 1992)). And
          23     although “reactive” declaratory actions are generally disfavored under the second
          24     Brillhart factor, it is not prohibitive for an insurer “to seek a forum that could resolve
          25     all issues related to [an insurance policy] in one comprehensive proceeding,” as
          26     Travelers has done here in this action, by seeking adjudication of both its insurance
          27     policies with G&G. R.R. St. & Co. Inc. v. Transp. Ins. Co., 656 F.3d 966, 976, 981–82
          28     (9th Cir. 2011) (emphasis added). Moreover, this is not a situation where an insurer

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            1    filed a declaratory relief action in an entirely different state or forum than where the
            2    insured’s action is venued. Here, G&G’s initial action against Travelers is before this
            3    very Court, despite G&G’s attempt to deprive Travelers of a federal forum by
            4    fraudulently joining the Mayor of Los Angeles to an insurance coverage dispute.
            5            Second, removing a case to federal court is not forum shopping. Where, as here,
            6    a case involves diverse parties and satisfies the amount in controversy, the defendant
            7    has a right to a federal forum. See 757BD LLC v. Nat’l Union Fire Ins. Co. of
            8    Pittsburgh, PA, 330 F. Supp. 3d 1153, 1166 (D. Ariz. 2016) (finding second Brillhart
            9    factor weighed in favor of retaining action because to decline jurisdiction “would
          10     deprive [the insurer] of its choice to litigate this matter in federal court, and undermine
          11     the federal interest in providing a neutral forum free from an appearance of favoritism
          12     against an out-of-state party” (citation omitted)).
          13             Third, the unrelated state proceedings—and the fact that they have not been
          14     removed to federal court—have no relevance here.6 As discussed above, those actions
          15     involve different parties and different insurance policies and thus do not bear on the
          16     parties’ dispute in this action. Further, each case must be separately evaluated to
          17     determine whether it satisfies the requirements for federal-court jurisdiction, and that is
          18     exactly what Travelers did. Contrary to G&G’s position, Travelers has not attempted
          19     to burden G&G by “forcing” it to “simultaneously litigate in both federal and state
          20     court.” Mot. at 6–7. Indeed, G&G is not a party to any of those state court actions.
          21     The only two cases between G&G and Travelers (this case and G&G initial action) are
          22     both in federal court.
          23             Brillhart’s second factor thus weighs in favor of retaining jurisdiction.
          24                      3.      There Is No Risk of Duplicative Litigation
          25             For the third Brillhart factor, G&G repackages arguments already discussed
          26     above, contending that the “three cases pending” in Los Angeles Superior Court
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          28          The unrelated state proceedings potentially could become removable at a later point
                      in those actions.
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            1    “involv[e] the same exact factual circumstances and issues raised in this case” and thus
            2    “[t]here is a high likelihood that if this case remains in federal court, there will be
            3    contradictory decisions.” Mot. at 7. But again G&G ignores that the three state
            4    proceedings involve different parties and different insurance policies. Accordingly,
            5    because no “parallel” proceedings exist, there can be no “waste of judicial resources,”
            6    which is the inherent concern with duplicative litigation. See Am. Cas. Co. of Reading,
            7    Pennsylvania, 181 F.3d at 1119; see also, e.g., AmTrust Int’l Underwriters Ltd. v.
            8    Silver Star Constr. Eng’g, Inc., No. CV 18-4776-MWF (JEMx), 2018 WL 5819454, at
            9    *3 (C.D. Cal. Oct. 30, 2018) (“The standard for duplicative litigation . . . is whether the
          10     same issues between the same parties are currently being litigated in state court.”);
          11     Carolina Cas. Ins. Co., 2005 WL 1367096, at *5–6 (finding no duplicative litigation
          12     where federal and state cases involved “entirely different contract[s]” involving
          13     different parties and issues).7
          14             Brillhart’s third factor thus weighs in favor of retaining jurisdiction.
          15                      4.      The Remaining Brillhart Factors Favor Jurisdiction
          16             Given the absence of “parallel” state proceedings here, the rest of the Brillhart
          17     factors further weigh in favor of retaining jurisdiction. Dizol, 133 F.3d at 1225 n.5.
          18     This action “will settle all aspects of the controversy” precisely because this action
          19     captures the entire dispute between G&G and Travelers with respect to the insurance
          20     policies at issue and G&G’s claimed business losses at both of its offices. Id. Not
          21     only is the present action comprehensive, but it also involves the actual Travelers
          22     entity that issued the insurance policies to G&G, unlike G&G’s original action (in
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          25          G&G loosely relies on OneBeacon Ins. Co. v. Parker, Kern, Nard & Wenzel, No.
                      1:09-CV-00257 AWI GS, 2009 WL 2914203 (E.D. Cal. Sept. 9, 2009), and
          26          Phoenix Assurance PLC v. Marimed Found. for Island Health Care Training, 125
                      F. Supp. 2d 1214 (D. Haw. 2000), in its “duplicative litigation” analysis. Mot. at 7–
          27          8. However, those cases are inapposite here, as they involved coverage disputes
          28          that required predicate factual determinations from underlying cases ongoing in
                      state court.
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            1    which G&G erroneously sued another Travelers affiliate8) and also unlike any of the
            2    purported “parallel” state proceedings (which involve different parties and contracts).
            3    Accordingly, this action “will serve a useful purpose in clarifying the legal relations at
            4    issue” between G&G and Travelers. Id. Moreover, as discussed above, this action
            5    was not sought “for the purposes of procedural fencing or to obtain a ‘res judicata’
            6    advantage,” as Travelers has rightfully sought federal jurisdiction over the contract
            7    dispute between itself and G&G and it will not have res judicata effects over any state
            8    proceedings. Id. Indeed, for res judicata to apply between these actions, “identical
            9    parties or privies” are required. Mpoyo v. Litton Electro-Optical Sys., 430 F.3d 985,
          10     987 (9th Cir. 2005) (emphasis added). And finally, this action will not “result in
          11     entanglement between the federal and state court systems” given the lack of overlap
          12     with any ongoing state proceedings. Dizol, 133 F.3d at 1225 n.5.
          13             For all these reasons and those discussed above, all of the Brillhart factors
          14     weigh in favor of the Court retaining and exercising jurisdiction.
          15             B.       Colorado River or Younger Abstention Is Inappropriate
          16             G&G’s argument for Colorado River and Younger abstention largely consists of
          17     a three-page, single-spaced block quote from The Rutter Guide with little analysis, and
          18     no attempt to apply the standards to this case. Abstention under either doctrine is
          19     inappropriate, however, because certain threshold requirements under both doctrines
          20     have not been satisfied.
          21             For Colorado River to apply, the action cannot solely be brought under the DJA.
          22     Chamberlain v. Allstate Ins. Co., 931 F.2d 1361, 1366 (9th Cir. 1991); see also
          23     Seneca, 862 F.3d at 841 (holding that Colorado River “correctly” applies to actions
          24     seeking declaratory and non-declaratory remedies, but non-declaratory remedies must
          25     afford an “independent basis” for federal jurisdiction). This action, however, is solely
          26     brought under the DJA. Thus, Colorado River does not apply.
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                      Even after filing an amended complaint in G&G’s original action, G&G continues
                      to name an incorrect entity as the defendant.
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            1            Younger applies only in three specific categories of cases—“state criminal
            2    prosecutions,” “civil enforcement proceedings,” and “civil proceedings involving
            3    certain orders that are uniquely in furtherance of the state courts’ ability to perform
            4    their judicial functions”—but no such circumstances exist here. Sprint Commc’ns, Inc.
            5    v. Jacobs, 571 U.S. 69, 73 (2013); Monster Beverage Corp. v. Herrera, 650 F. App’x
            6    344, 346 (9th Cir. 2016). There is no “parallel, pending state criminal proceeding[],”
            7    no “state civil proceedings that are akin to criminal prosecutions,” and no “state civil
            8    proceedings that implicate a State’s interest in enforcing the orders and judgments of
            9    its courts.” Herrera v. City of Palmdale, 918 F.3d 1037, 1043 (9th Cir. 2019)
          10     (quotation marks omitted). G&G has not argued or even suggested otherwise.
          11     Younger, thus, does not apply here.
          12             Because none of the threshold requirements of Colorado River or Younger
          13     exists, abstention under either doctrine would be inappropriate.
          14     IV.     CONCLUSION
          15             For all of the reasons stated above, Travelers respectfully requests that the Court
          16     deny G&G’s Motion to Dismiss the Complaint or in the alternative, to Stay
          17     Proceedings.
          18
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